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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-NRN


   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,

   Defendants.



         UNOPPOSED MOTION TO EXTEND CUTOFF FOR EXPERT DISCOVERY


           Plaintiffs, by and through their attorneys, Podoll & Podoll, P.C., move to extend the

   deadline for supplemental expert disclosures from May 1, 2023 to May 15, 2023, pursuant to

   F.R.C.P. 6(b), D.C.COLO.LCivR 7.1 and CMA Civ. Practice Standard 6.1 as follows:

                                CERTIFICATE OF CONFERRAL

           Counsel for Plaintiffs make this request after extensive conferral with Counsel for

   Defendants in order to accommodate the parties scheduling needs. This motion is unopposed.




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                                              ARGUMENT

            1.     Discovery in this matter is complete with the exception of the deposition of

   Plaintiffs’ expert, Lari Masten.

            2.     Due to scheduling issues, Ms. Masten’s deposition had to be rescheduled to August

   2, 2023.

            3.     This scheduling was by agreement of the parties and does not prejudice either

   party.

            4.     While the scheduled date is subsequent to the cutoff date for the deposition of

   Plaintiffs’ expert, the parties are in agreement to extend the cutoff date to August 2, 2023, for the

   exclusive purpose of taking the deposition of Ms. Masten.

            5.     The parties are in agreement that no other discovery deadlines shall be altered as a

   result of this request.

            WHEREFORE, Plaintiffs respectfully request the Court extend the deadline for expert

   discovery to August 2, 2023, for the exclusive purpose of performing the deposition of Plaintiffs’

   expert, Lari Masten.

            Dated: July 7, 2023

                                                          PODOLL & PODOLL, PC

                                                         By:     s/ Richard B. Podoll, Esq.
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 7, 2023, a true and correct copy of the foregoing was served
   via PACER/ECF upon the following:

          Attorneys for Defendants
          Timothy R. Beyer, Esq.
          Adam B. Stern, Esq.
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          adam.stern@bclplaw.com

          I hereby certify that on July 7, 2023, a true and correct copy of the foregoing was served
   via email on Plaintiffs pursuant to D.C.COLO.LCivR 6.1(c).


                                               By: /s/ Richard B. Podoll
                                                      Richard B. Podoll




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